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         ORDERED in the Southern District of Florida on February 6, 2025.



                                                             Peter D. Russin, Judge
                                                             United States Bankruptcy Court
_____________________________________________________________________________



                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA

          In Re:                                                   CASE NO.: 24-14482(PDR)

          Roi Neeman,                                              CHAPTER 7

                                         Debtor
          Jessica Piafsky
                                     Plaintiff(s)                  Adversary Number: 24-01396-PDR
                             v.

          Roi Neeman
                                   Defendant(s)


          ORDER GRANTING PLAINTIFF’S MOTION TO ALLOW REMOTE APPEARANCE

                   THIS MATTER came before the Court on Plaintiff’s Ex Parte Motion for Leave to

         Appear Remotely at the Scheduling Conference Scheduled for February 12, 2025 at 10:00am

         [D.E. 22] , and the hearing on Plaintiff’s Motion to Strike the Answer also scheduled for

         February 12, 2025 at 10:00am [D.E. 27].        The Court having considered the motion and the

         record without a hearing, it is Ordered that the Plaintiff’s Motion to for Leave to Appear
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Remotely is GRANTED.

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Submitted by:
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Copies furnished to: David W. Berenthal, who shall serve a copy of the Order on all non-
registered interested parties and file a certificate of service thereon.
